  Fill in this information to identify your case:

 Debtor 1                 YUSLEINY DIAZ DIAZ
                          First Name                        Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                       Last Name


 United States Bankruptcy Court for the:              DISTRICT OF ARIZONA

 Case number                                           <_'3_                                                               'JUN 0 2 2021
 (if known)
                            ^t-                       nj                                                                                             D Check if this is an
                                                                                                                             WHTeOS jes__- amendedfiling
                                                                                                                                             COURT
                                                                                                                  FORTOEDISTRICTOFARIZONA
Official Form 106Sum
Summa                  of Your Assets and Liabilities and Certain Statistical Information                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your originalforms, you must fill out a new Summaryand checkthe box at the top of this page.
 Parti          Summarize Your Assets


                                                                                                                                                       Your assets
                                                                                                                                                       Vaiueofwhatyou own
 1.     ScheduleA/B: Property (OfficialForm 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B.                                                                                         $             200, 000. 00

        1b. Copy line 62, Total personal property, from ScheduleA/B.                                                                                    $              13, 800. 00
        1 c. Copy line 63, Total of all property on Schedule A/B.                                                                                       $             213, 800.00
 Part 2        Summarize Your Liabilities

                                                                                                                                                       Your liabilities
                                                                                                                                                       Amount you owe

 2.     Schedule D: CreditorsWho Have Claims Securedby Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount ofclaim, at the bottom ofthe last page of Part 1 of Schedule D...                              $             1 80, 666. 00
 3.    Schedule E/F:CreditorsWhoHave Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claimsfrom Part 1 (priority unsecured claims) from line 6e of ScheduleE/F.................................                    $                     0.00

       3b. Copy thetotalclaimsfromPart2 (nonpriorityunsecuredclaims)fromline6j ofScheduleE/F............................                                $             143.400.00

                                                                                                                          Yourtotal liabilities $                 324, 066.00

 Part 3        Summarize Your Income and Ex enses

 4.    Schedule I: Your Income (Official Form 1061)
       Copy your combined monthly income from line 12 of Schedule/................................................................................      $                 1,871.00

 5.    ScheduleJ: Your Expenses(Official Form 106J)
       Copy your monthly expensesfrom line 22c of ScheduleJ..........................................................................                   $                 3, 131.00

               Answer These Questions for Administrative and Statistical Records

 6.    Are you filing for bankruptcy under Chapters 7, 11, or 13?
       D No.You have nothingto reporton thispartofthe form. Checkthisboxand submitthisform to the courtwithyourotherschedules.
          Yes
 7.    What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal, family, or
               householdpurpose." 11 U.S.C. § 101(8). Fillout lines8-9gforstatisticalpurposes.28 U.S.C. § 159.
       D Your debtsare not primarily consumerdebts. You have nothingto reporton this part oftheform. Checkthisboxand submitthisform to
               the court with your other schedules.
 OfficialForm106Sum                    SummaryofYourAssetsandLiabilitiesandCertainStatisticalInformation                                                     page1 of 2
SoftwareCopyright (c) 1996-2021 BestCase, LLC-www. bestcase. com                                                                                             BestCase Bankruptcy
              Case 2:21-bk-04316-MCW                            Doc 7 Filed 06/02/21 Entered 06/03/21 13:20:56                                                   Desc
                                                               Main Document    Page 1 of 38
  Debtor 1      YUSLEINYDIAZDIAZ                                                            Case number (if known)

  8.    Fromthe StatementofYourCurrentMonthly Income:Copyyourtotal currentmonthlyincomefrom OfficialForm
        122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                2, 494. 00


  9.    Copy the following special categories of claims from Part4, line 6 of ScheduleE/F:

                                                                                                        Total claim


        9a. Domestic support obligations(Copy line 6a.)                                                  $                 0.00

        9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                        $                 0.00

        9c. Claimsfor death or personal injury whileyou were intoxicated. (Copy line 6c.)                $                 0. 00

        9d. Student loans. (Copy line 6f.)                                                                                 0. 00

        9e. Obligationsarising out of a separation agreementor divorce thatyou did not report as
             priority claims. (Copy line 6g.)                                                                              0.00

        9f. Debts to pension or profit-sharing plans, and other similardebts. (Copy line 6h.)           +$                 0.00


        9g. Total. Add lines 9a through 9f.                                                                              0. 00




Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information             page 2 of 2
Software Copyright (c) 1996-2021 Best Case, LLC-www. bestcase. com                                                                 Best Case Bankmptcy
            Case 2:21-bk-04316-MCW                               Doc 7 Filed 06/02/21 Entered 06/03/21 13:20:56                    Desc
                                                                Main Document    Page 2 of 38
  Fill in this information to identify your case and this filing:
 Debtor 1                     YUSLEINY DIAZ DIAZ
                              First Name                               MiddleName                       Last Name

 Debtor 2
 (Spouse, if filing)          First Name                               Middle Name                      Last Name


 United States Bankruptcy Courtfor the: DISTRICTOFARIZONA

 Case number                                                                                                                                                   D   Check ifthis is an
                                                                                                                                                                   amended filing


Official Form 106A/B
Schedule A/B: Pro ert                                                                                                                                              12/15
In eachcategory,separately listanddescribeitems. Listan assetonly once. Ifanassetfits in morethan onecategory, listthe assetin the categorywhereyou
think it fits best. Be as complete andaccurateas possible. Iftwo married peoplearefilingtogether, both areequally responsibleforsupplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

   D No. Go to Part 2.
        Yes. Where is the property?




 1.1                                                                           What is the property? Check all that apply
        3814 WEST ROSE LANE                                                            Single-family home                           Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                         the amount of any secured claims on Schedule D.
                                                                                 D     Duplex or multi-unit building
                                                                                                                                    Creditors Who Have Claims Secured by Property
                                                                                       Condominium or cooperative
                                                                                 D

                                                                                 D Manufacturedor mobile home
                                                                                                                                   Current value of the        Current value of the
        Phoenix                            AZ        85019-0000                  D Land                                            entire property?            portion you own?
        City                               Slate             ZIPCode                   Investment property                                 $200, 000. 00               $200, 000. 00
                                                                                 D Timeshare
                                                                                 D Other                                            Describethe nature of your ownership interest
                                                                                                                                    (such as fee simple, tenancy by the entireties, or
                                                                               Who has an interest in the property? Checkone       a life estate), if known.
                                                                                       Debtor 1 only                                owner
        Maricopa                                                                 D Debtor2 only
        County
                                                                                 D Debtor 1 and Debtor2 only
                                                                                                                                         Check if this is community property
                                                                                 D At least one ofthe debtors and another                (see instructions)
                                                                               Other information you wish to add about this item, such as local
                                                                               property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
       pages you have attached for Part 1. Write that number here.........................................,.................................    =>                  $200,000.00


 Pan 2      DescribeYourVehicles

Doyou own,lease,or havelegalorequitableinterestinanyvehicles,whethertheyareregisteredor not? Includeanyvehiclesyouownthat
someoneelsedrives. Ifyou leasea vehicle, also reportit on ScheduleG: ExecutoryContractsandUnexpiredLeases.




Official Form 106A/B                                                                 Schedule A/B: Property                                                                       page 1
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               Case 2:21-bk-04316-MCW                                     Doc 7 Filed 06/02/21 Entered 06/03/21 13:20:56                                             Desc
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    Debtor 1          YUSLEINY DIAZ DIAZ                                                                                   Case number (if known)

 3. Cars, vans, trucks, tractors, soort utility vehicles, motorcycles

     a No
            Yes


     3. 1     Make:       CHEVY                                     Who has an interest in the property? check one                   Do not deductsecured claims or exemptions Put
                                                                                                                                     the amount of any secured claims on Schedule D
              Model:      SILVERADO                                     Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
              Year:       2014                                      D Debtor 2 only                                                  Current value of the      Current value of the
              Approximate mileage:                                  D Debtor1 andDebtor2 only                                        entire property?          portion you own?
              Other information:                                    D At leastoneofthe debtorsandanother

                                                                    D Checkifthisis communityproperty                                        $12, 000. 00               $12, 000. 00
                                                                        (see instructions)




4 Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personalwatercraft, fishingvessels, snowmobiles, motorcycle accessories

            No
     D Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
      .
          pages you have attached for Part 2. Write that number here............................................................................. =>                 $12, 000. 00

 Part 3          Describe Your Personal and Household Items

 Doyou own or have any legal or equitable interestin any of the following items?                                                                            Current value of the
                                                                                                                                                            portion you own?
                                                                                                                                                            Do not deduct secured
                                                                                                                                                            claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
      D No
             Yes. Describe.....

                                          BEDROOMFURNITURE$200: 2 BEDS, 1 DRESSER
                                          LIVING ROOM FURNITURE $200: SOFA, COFFEE TABLE
                                          KITCHEN $100: POTS, PANS, PLATES, UTENSILS
                                          DINING ROOM FURNITURE $200: TABLE, 4 CHAIRS
                                         WASHER/DRYER$300                                                                                                                  $1, 000. 00

7    Electronics
          Examples:Televisionsand radios;audio,video, stereo, anddigitalequipment; computers, printers, scanners;musiccollections; electronicdevices
                       including cell phones, cameras, mediaplayers, games
      D No
            Yes. Describe.....

                                         TV- 32: TC-50" $300                                                                                                                 $300.00


8. Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections:
                       other collections, memorabilia, collectibles
            No
      D Yes. Describe.....

9. Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobbyequipment; bicycles, pooltables, golfclubs, skis; canoes and kayaks; carpentry tools;
                       musical instruments
            No
      D Yes. Describe.....

Official Form 106A/B                                                         Schedule A/B: Property                                                                              page 2
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  Debtor 1        YUSLEINY DIAZ DIAZ                                                                     Case number (if known)
 10. Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment
          No
     D Yes. Describe.....

 11. Clothes
      Examples: Everydayclothes, furs, leathercoats, designerwear, shoes, accessories
     D No
          Yes. Describe.....

                                      CLOTHING                                                                                                     $200.00


12. Jewelry
       Examples:Everydayjewelry, costumejewelry, engagementrings,weddingrings, heirloomjewelry,watches,gems, gold, silver
          No
     D Yes. Describe.....

13. Non-farm animals
      Examples: Dogs, cats, birds, horses
       No
    D Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
          No
    D Yes. Give specific information.....


 15. Addthedollarvalue ofall ofyourentriesfrom Part3, includinganyentriesfor pagesyou haveattached
       for Part 3. Write that number here                                                                                                  $1, 500. 00

 Part 4     DescribeYour Financial Assets
 Doyou own or haveany legal or equitableinterestin any ofthefollowing?                                                            Currentvalue ofthe
                                                                                                                                  portion you own?
                                                                                                                                  Do not deduct secured
                                                                                                                                  claims or exemptions.
16. Cash
      Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
          No
    D Yes.

17. Deposits of money
      Examples: Checking, savings, or other financial accounts; certificates ofdeposit; shares in credit unions, brokerage houses, and other similar
                     institutions. If you have multiple accounts with the same institution, list each.
    D No
      Yes........................                                            Institution name:


                                       17. 1. Checking                       BANK OF AMERICAXXX4912                                               $300. 00

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
    D Yes..................                    Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnershiD. and
      joint venture                                                                                                "----... -. -, ^-.... -. -... ^,
        No
    D Yes. Givespecificinformationaboutthem.
                                          Name of entity:                                                % of ownership:



Official Form 106A/B                                                  ScheduleA/B: Property                                                           page3
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                                                                                                                                          Best Case Bankruptcy

               Case 2:21-bk-04316-MCW                            Doc 7 Filed 06/02/21 Entered 06/03/21 13:20:56                          Desc
                                                                Main Document    Page 5 of 38
  Debtor1         YUSLEINYDIAZDIAZ                                                                           Casenumber(ifknown)
 20. Government and corporate bonds and other negotiable and non-negotiable instruments
     Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
     Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
         No
     D Yes. Givespecificinformationaboutthem
                                           Issuer name:

21. Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
         No
     D Yes. Listeachaccountseparately.
                                        Type of account:                   Institution name:

22. Security deposits and prepayments
       Your share ofall unused deposits you have made so thatyou may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
       No
     D Yes......................                                           Institution name or individual:

23. Annuities (A contractfor a periodicpayment of moneyto you, eitherfor life or for a number of years)
       No
     D Yes.............            Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U. S. C. §§ 530(b)(1), 529A(b), and 529(b)(1).
         No
     D Yes.............            Institution nameanddescription. Separatelyfilethe recordsofany interests. 11 U.S.C. §521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1 ), and rights or powers exercisable for your benefit
         No
     D Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
    D Yes. Give specific information about them...

27. Licenses,franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
    D Yes. Givespecificinformation aboutthem...

 Money or property owedto you?                                                                                                       Currentvalue ofthe
                                                                                                                                     portion you own?
                                                                                                                                     Do not deduct secured
                                                                                                                                     claims or exemptions.
28. Tax refunds owed to you
      No
    D Yes. Give specificinformation aboutthem, includingwhetheryou already filedthe returns andthetaxyears.......

29. Family support
      Examples:Pastdueorlumpsumalimony,spousalsupport,childsupport, maintenance,divorcesettlement, propertysettlement
        No
    D Yes. Givespecificinformation......

30. Otheramounts someone owes you
      Examples: Unpaidwages, disability insurance payments, disability benefits, sickpay, vacation pay, workers' compensation, Social Security
                     benefits; unpaid loans you made to someone else
        No
    D Yes. Givespecificinformation..


Official Form 106A/B                                                   Schedule A/B: Property                                                            page 4
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 Debtor 1         YUSLEINYDIAZ DIAZ                                                                           Case number (if known)

31. Interests in insurance policies
        Examples: Health, disability, or life insurance; health savingsaccount (HSA); credit, homeowner's, or renter's insurance
          No
      D Yes. Name the insurance company ofeach policy and list its value.
                                           Company name:                                              Beneficiary:                     Surrender or refund
                                                                                                                                       value:

32. Any interest in property that is due you from someone who has died
        Ifyou arethe beneficiaryofa living trust, expectproceedsfroma life insurancepolicy, or are currentlyentitled to receive property because
        someone has died.
          No
      D Yes. Give specific information..

33. Claims againstthird parties, whetheror not you havefiled a lawsuitor madea demandfor payment
        Examples: Accidents, employment disputes, insurance claims, or rights to sue
         No
      D Yes. Describeeach claim.

34. Other contingentand unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
          No
      D Yes. Describeeach claim.

35. Any financialassets you did not already list
          No
      D Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
        for Part 4. Write that number here.                                                                                                         $300. 00

 Part 5     DescribeAny Business-Related Property You Own or Have an Interest In. List any real estate in Part 1 .

37      o you own or have any legal or equitable interest in any business-related property?
        No. Go to Part6.
     1-1 Yes. Go to line 38.


 Part 6     DescribeAny Farm-and Commercial Fishing-RelatedProperty You Ownor Havean Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Doyou ownor haveany legal or equitableinterest in anyfarm-orcommercialflshing-relatedproperty?
           No. Go to Part7.
       D Yes. Go to line 47.


 Pan 7           Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership
        No
     D Yes. Givespecificinformation.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                                                   $0. 00




Official Form 106A/B                                                         Schedule A/B: Property                                                         page 5
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               Case 2:21-bk-04316-MCW                             Doc 7 Filed 06/02/21 Entered 06/03/21 13:20:56                                Desc
                                                                 Main Document    Page 7 of 38
 Debtor 1       YUSLEINY DIAZ DIAZ                                                                  Case number (if known)

 pan R         List the Totals of Each Part of this Form


 55. Part 1: Total real estate, line 2                                                                                              $200, 000. 00
 56. Part 2: Total vehicles, line 5                                                $12,000.00
 57. Part 3: Total personal and household items, line 15                             $1, 500. 00
 58. Part 4: Total financial assets, line 36                                           $300. 00
 59. Part 5: Total business-related property, line 45                                     $0. 00
 60. Part 6: Total farm- and fishing-related property, line 52                            $0.00
 61. Part 7: Total other property not listed, line 54                                     $0.00

 62. Total personal property. Add lines 56 through 61...                           $13, 800. 00    Copy personal property total        $13,800.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                 $213, 800. 00




Official Form106A/B                                               ScheduleA/B: Property                                                       page6
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           Case 2:21-bk-04316-MCW                             Doc 7 Filed 06/02/21 Entered 06/03/21 13:20:56                      Desc
                                                             Main Document    Page 8 of 38
  Fill in this information to identify your case:
 Debtor 1                 YUSLEINYDIAZ DIAZ
                          First Name                       Middle Name                Last Name

 Debtor 2
 (Spouse if, filing)      First Name                       Middle Name                Last Name


 United States Bankruptcy Court for the:             DISTRICT OF ARIZONA

 Case number
 (if known)                                                                                                                         D Check if this is an
                                                                                                                                      amended filing

Official Form 106C
Schedule C: The Property You Claim as                                                                                                                        4/19

Be as complete and accurate as possible. Iftwo married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.
 Part 1:        Identi the Pro e         You Claim as Exem t

 1. Which set of exemptions are you claiming? Check one only, even ifyour spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U. S. C. § 522(b)(3)
      D You are claiming federal exemptions. 11 U. S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Briefdescription of the property and line on           Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
      Seheclute MB that lists tbis pT
                                    Operty                    portion you own
                                                             Copy the valiae from   Cheekwly one boxfor each exemption.
                                                             Sotedtite A/B

      3814 WEST ROSE LANE Phoenix, AZ                              $200, 000. 00                            $34, 458. 00    Ariz- Rev- stat § 33-1101(A)
      85019 Maricopa County
      Line from Schedule A/B: 1.1                                                        100% affairmarket value, up to
                                                                                         any applicable statutory limit

      2014 CHEVY SILVERADO                                                                                    $6,000.00     Ariz- Rev- stat § 33-1125(8)
                                                                    $12, 000. 00
      Line from ScheduleA/B: 3.1
                                                                                         100% affair market value, up to
                                                                                         any applicable statutory limit

      BEDROOMFURNITURE$200: 2                                        $1,000.00                                $1, 000. 00   Ariz- Rev- stat- § 33-1123
      BEDS, 1 DRESSER
     LIVING ROOM FURNITURE $200:                                                         100% affair market value, up to
     SOFA, COFFEE TABLE                                                                  any applicable statutory limit
     KITCHEN $100: POTS, PANS,
     PLATES, UTENSILS
     DINING ROOM FURNITURE $200:
     TABLE, 4 CHAIRS
     WASHER/DRYER$300
     Line from Schedule A/B: 6.1

     TV- 32: TC-50" $300                                                 $300. 00                               $300.00     Ariz- Rev- stat § 33-1123
     Line from Schedule A/B: 7.1
                                                                                    1-1 100%offairmarket value, upto
                                                                                         any applicable statutory limit



Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
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                                                              Main Document    Page 9 of 38
  Debtor1      YUSLEINYDIAZDIAZ                                                                            Case number (if known)
      Brief description of the property and line en               Current value of the   Amount of the exemption you claim          Specific laws that allow exemption
      Schedule A/B that lists this property                       portion you own
                                                                  Copythe vataefrom      Cftec/couly one bw for eacft exemptm.
                                                                  Schedule /VS

      CLOTHING                                                             $200. 00                                  $200. 00       Ariz- Rev- stat- § 33-1125(1)
      Line from Schedule A/B: 11.1
                                                                                         1-1 100% offairmarket value, upto
                                                                                              any applicable statutory limit

      Checking: BANKOFAMERICA                                              $300.00                                   $300.00        Ariz- Rev- stat § 33-1126(A)(9)
      XXX4912
      Line from Schedule A/B: 17.1                                                       0 100%offairmarketvalue,upto
                                                                                              any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
             No

      D Yes. Didyou acquirethe propertycovered bythe exemptionwithin 1,215daysbeforeyou filed thiscase?
             D       No
             D       Yes




OfficialForm 106C                                         ScheduleC: The PropertyYou Claimas Exempt                                                           page 2 of 2
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            Case 2:21-bk-04316-MCW                                Doc 7 Filed 06/02/21 Entered 06/03/21 13:20:56                                        Desc
                                                                 Main Document    Page 10 of 38
  Fill in this information to identify your case:

  Debtor 1                   YUSLEINYDIAZ DIAZ
                             First Name                      Middle Name                     Last Name
  Debtor 2
  (Spouse if, filing)        First Name                      Middle Name                     Last Name

  United States Bankruptcy Court for the:              DISTRICT OF ARIZONA

 Case number
 (ifknown)
                                                                                                                                           D    Check if this is an
                                                                                                                                                amended filing

 Official Form 106D
Schedule D: Creditors T ho Have Claims Secured by Property                                                                                                         12/15
?e_a-SS°?lf'l?e^1d ?^^ate-?iposs^. le;lfty*'° malTied Peoplearefiling together, both areequally responsible forsupplying correct information. Ifmore space
is needed,copytheAdditionalPage,fill it out, numbertheentries, and attach it to this form. Onthetop ofanyadditionalpages,write your nameand case
number (if known).
1. Do any creditors have claims secured by your property?
       D No. Checkthis boxandsubmitthisformtothecourtwithyourother schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below.
 Part 1:          List All Secured Claims
                                                                                                          Column A              Column B                 Column C
 2. Listall secured claims. Ifa ereditorhasmorethanonesecuredclaim, listthecreditorseparately
 for each claim. If more than one creditor hasa particularclaim, list the othercreditors in Part2. As     Amount of claim       Value of collateral      Unsecured
 much as possible, list the claims in atphabetieal orderaeeordingto thecreditor's name.                   Do not deduct the     that supports this       portion
                                                                                                          value of collateral   claim                    If any
 2. 1 MECHANICS BANK                               Describethe property that secures the claim:               $15, 124. 00              $12, 000. 00          $3, 124. 00
         Creditor's Name
                                                   2014 CHEVY SILVERADO


          P.O. BOX 25085                           As ofthe dateyou file, the claim is: Checkallthai
                                                   apply.
         Santa Ana, CA 92799                       D Contingent
         Number, Street, City, State & Zip Code        Unliquidated
                                                   D Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
      Debtor 1 only                                D Anagreementyoumade(suchasmortgageorsecured
 D Debtor 2 only                                        car loan)

 D Debtor1 andDebtor2 only                         D Statutory lien (suchastax lien, mechanic's lien)
 D Atleastoneofthedebtorsandanother                D Judgmentlienfroma lawsuit
 D Checkifthis claim relates to a                    Other(including a righttooffset) AUTO LOAN SECURED
       community debt

 Date debt was incurred          12-2018                    Last4 digits of account number        XXXX


 2.2 US Bank Home Mortgage                         Describe the property that secures the claim:            $165, 542. 00           $200, 000. 00                    $0.00
         Creditor's Name
                                                  3814 WEST ROSE LANE Phoenix,
                                                  AZ 85019 Maricopa County
                                                  As of the date you file, the claim is: check all thai
         4801 Frederica Street                    apply.
         Owensboro, KY 42301                       D Contingent
         Number, Street, City, State & Zip Code        Unliquidated
                                                   D Disputed
 Who owes the debt? Check one.                     Natureof lien. Checkallthatapply.
     Debtor 1 only                                 D Anagreementyoumade(suchasmortgageorsecured
 D Debtor 2 only                                       car loan)

 D Debtor1 andDebtor2 only                         D Statutory lien (suchastaxlien, mechanic's lien)
 D Atleastoneofthedebtorsandanother                D Judgmentlienfroma lawsuit
 D Checkifthis claim relatesto a                     Other(including a righttooffset) MORTGAGE
      community debt

 Date debt was incurred          6-2017                     Last4 digits of account number        XXXX


Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 2
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 Debtor 1 YUSLEINYDIAZDIAZ                                                              Case number(ifknown)
              First Name               Middle Name                   Last Name




   Addthe dollarvalueofyourentries in ColumnA onthispage.Writethatnumberhere:                       $180,666.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                          'I" °", ooo.i

 Part 2: List Others to Be Notified for a Debt That You Alread Listed
 Usethis pageonly ifyou haveothersto benotifiedaboutyourbankruptcyfora debtthatyou alreadylisted in Part1. Forexample, if a collection agency is
 tryingto collectfromyoufora debtyouoweto someoneelse, listthecreditorin Part1, and then listthecollection agencyhere. Similarly, if you havemore
 thanonecreditorforanyofthedebtsthatyou listed in Part1, listthe additionalcreditors here. Ifyou do nothaveadditionalpersonsto be notifiedforany
 debt? in Part 1, do not fill out or submit this page.




OfficialForm 106D                  AdditionalPageofScheduleD:CreditorsWhoHaveClaimsSecuredby Property                                      page 2 of 2
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  Fill in this information to identify your case:

  Debtor 1                  YUSLEINY DIAZ DIAZ
                            First Name                         Middle Name                          Last Name

 Debtor 2
 (Spouse If, filing)        First Name                         Middle Name                          Last Name


 United States BankruptcyCourtforthe:                    DISTRICTOFARIZONA

 Case number
 (if known)                                                                                                                                            D Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                         12/15
Beas complete and accurateas possible. Use Part1 forcreditorswith PRIORITYclaimsand Part2 forcreditorswith NONPRIORIP/claims. Listthe otherpartyto
anyexecutory contractsor unexpiredleasesthatcould result in a claim. Also list executorycontracts on ScheduleA/B: Property (OfficialForm 106A/B)andon
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Pageto this page. Ifyou have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1          List All of Your PRIORITf Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.
       D Yes.

 Part 2          List All of Your NONPRIORITC Unsecured Claims
 3. Do any creditors have nonprjority unsecured claims againstyou?
       D No.You have nothingto report inthispart. Submitthisform tothecourtwithyourother schedules.
          Yes.
 4'
       LLSt-^ll-?f, y?-^"?".p. ?or."^^."sec"red.c!alms in the alPhabetica1 orderofthe creditor who holds each claim.             If a creditor   has more than   one   nonpriority
       unsecured claim, list thecreditor separately for each claim. Foreach claim listed, identity whattype of claim it is. Do not list claims already included in P'art-1, 'Ifmore
       thanonecreditorholdsa particularclaim,listtheothercreditorsinPart3.1fyouhavemorethanthreenonpnorityunsecuredclaimsfillouttheContinuationPageof
       Part 2.

                                                                                                                                                                 Total claim
 4.1          ABSOLUTE RESOLUTIONS                                      Last 4 digits of account number         3272                                                        $10, 000. 00
              Nonpriority Creditor's Name
              8000 NORMAN CENTER DRS350                                 When was the debt incurred?             2021
              Minnea olis, MN 55437
              Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                 Debtor 1 only                                          D Contingent
              D Debtor 2 only                                                Unliquidated
              D Debtor1 andDebtor2 only                                 d Disputed
              D Atleastoneofthedebtorsandanother                        Type of NONPRIORITY unsecured claim:

              D Check ifthis claim isfora community                     D Student loans
              debt                                                      D Obligationsarisingoutofa separation agreementordivorcethatyoudidnot
              Is the claim subject to offset?                           report as priority claims
                 No                                                     D Debtsto pension orprofit-sharing plans, andother similardebts
              D Yes                                                          Other.Specify CREDIT




Official Form 106 E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 10
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  Debtor1 YUSLEINYDIAZDIAZ                                                                               Case number (ifknown)

  4.2       ALLTRAN FINANCIAL                                        Last 4 digits of account number       XX                                         $13, 000. 00
            Nonpriority Creditor's Name
            P. O. BOX 4044                                           Whenwasthe debt incurred?             2021
            Concord, CA 94524
            Number Street City State Zip Code                        As ofthe dateyou file, the claim is: Checkall thatapply
            Who incurred the debt? Check one.

                Debtor 1 only                                        D Contingent
            D Debtor 2 only                                              Unliquidated
            D Debtor 1 and Debtor 2 only                             D Disputed
            D At leastoneofthedebtorsandanother                      Type of NONPRIORITCunsecured claim:
            D Checkifthisclaimisfora community                       D Student loans
            debt                                                     D Obligations arising outofa separation agreement ordivorce thatyou didnot
            Is the claim subject to offset?                          report as priority claims
               No                                                    D Debtsto pensionorprofit-sharingplans,andothersimilardebts
            D Yes                                                        Other. Specify CITIBANK

 4.3       American Recovery Service, Inc.                           Last 4 digits of account number       XX                                          $4, 200.00
            Nonpriority Creditor's Name
           555 ST. CHARLES DR. STE 110                               When was the debt incurred?           2021
           Thousand Oaks, CA 91360
            NumberStreet City StateZip Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                         D Contingent
            D Debtor 2 only                                              Unliquidated
            D Debtor1 andDebtor2 only                                D Disputed
           D At leastoneofthedebtorsandanother                       Type of NONPRIORITY unsecured claim:

           D Checkifthisclaimis fora community                       D Student loans
           debt
                                                                     D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                           report as priority claims
               No                                                    D Debtsto pension or profit-sharing plans, andothersimilardebts
           D Yes                                                         Other. Specify CITIBANK

 4.4       ARS NATIONAL SERVICE INC.                                 Last4 digits of account number        XX                                          $1,000.00
           Nonpriority Creditor's Name
           P.O. BOX 469100                                           When was the debt incurred?           2021
           Escondido, CA 92046
           Number Street City State Zip Code                         As ofthedateyou file, the claim is: Checkallthatapply
           Who incurred the debt? Check one.

               Debtor 1 only                                         D Contingent
           D Debtor 2 only                                              Unliquidated
           D Debtor1 andDebtor2 only                                 D Disputed
           D Atleastoneofthedebtorsandanother                        Type of NONPRIORITY unsecured claim:

           D Checkifthisclaimisfora community                        D Studentloans
           debt
                                                                     D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                           report as priority claims
               No                                                    D Debtsto pension orprofit-sharing plans, andothersimilardebts
           D Yes                                                        Other Specify MACY'S




Official Form 106 E/F                                   Schedule BF: Creditors Who Have Unsecured Claims                                               Page 2 of 10
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  Debtor 1 YUSLEINYDIAZDIAZ                                                                                Case number (if known)

 4.5        Bank of America                                            Last4 digits of account number        XXXX                                         $8,400.00
            Nonpriority Creditor's Name
            4060 Ogletown/Stanton rd.                                  When was the debt incurred?           2021
            Newark, DE 19713
            NumberStreet City StateZip Code                            As of the date you flle, the claim is: Check all that apply
            Who incurred the debt? Check one.

                Debtor 1 only                                          D Contingent
            D Debtor 2 only                                                Unliquidated
            D Debtor1 andDebtor2 only                                  D Disputed
            D At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

            D Checkifthisclaimisfora community                         D Student loans
            debt                                                       D Obligations arising outofa separation agreement ordivorce thatyou did not
            Is the claim subjectto offset?                             report as priority claims
                No                                                     D Debtsto pension orprofit-sharing plans, andothersimilardebts
            D Yes                                                          Other.Specify CREDIT/MORETHANONEACCOUNT

 4.6        BRAND SOURCE/CITI CBNA                                     Last 4 digits of account number       XXXX                                         $4, 200. 00
            Nonpriority Creditor's Name
            5800 SOUTH CORPORATEPLACE                                  Whenwas the debt incurred?            2021
            MAILCODE 234
            Sioux Falls, SD 57117
            Number Street City State Zip Code                          As ofthe dateyou file, the claim is: Check all that apply
           Who incurred the debt? Check one.

                Debtor 1 only                                          D Contingent
            D Debtor 2 only                                                Unliquidated
            D Debtor1 andDebtor2 only                                  D Disputed
            D At least one of the debtors and another                  Type of NONPRIORirr unsecured claim:

            D Checkifthisclaimisfora community                         D Studentloans
           debt
                                                                       D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                             report as priority claims
               No                                                      D Debtsto pension orprofit-sharing plans, andother similardebts
            D Yes                                                         Other.Specify CREDIT

 4.7       Capital Management Services, LP                             Last 4 digits of account number       XX                                          $9, 000. 00
           Nonpriority Creditor's Name
           698 1/2 SOUTH OGDENST.                                      Whenwasthe debt incurred?             2021
           Buffalo, NY 14206
           NumberStreet City State ZipCode                             As ofthe dateyou file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                           D Contingent
           D Debtor 2 only                                                Unliquidated
           D Debtor1 andDebtor2 only                                   D Disputed
           D At leastoneofthedebtorsandanother                         Type of NONPRIORITY unsecured claim:

           D Checkifthisclaimisfora community                          D Student loans
           debt                                                        D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                             report as priority claims
               No                                                      D Debtsto pensionorprofit-sharingplans,andothersimilardebts
           D Yes                                                          Other. Specify BANK OF AMERICA




Official Form 106 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 3 of 10
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  Debtor1 YUSLEINYDIAZDIAZ                                                                               Case number (if known)

  4.8       Citi                                                     Last 4 digits of account number        XX                                    $2, 000. 00
            Nonpriority Creditor's Name
            P.O. Box 790040                                          When was the debt incurred?            2021
            Saint Louis, MO 63179
            Number Street City State Zip Code                        As ofthe date you file, the claim is: Checkall that apply
            Who incurred the debt? Check one.

                Debtor 1 only                                        D Contingent
            D Debtor 2 only                                              Unliquidated
            D Debtor1 andDebtor2 only                                D Disputed
            D At least one of the debtors and another                Type of NONPRIORIPC unsecured claim:

            D Checkifthisclaimisfora community                       D Student loans
           debt                                                      D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
            Is the claim subject to offset?                          report as priority claims
               No                                                    D Debtsto pension orprofit-sharing plans, andothersimilardebts
            D Yes                                                        Other. Specify CREDIT

 4.9       Citibank                                                  Last 4 digits of account number       XX                                     $1, 900. 00
           Nonpriority Creditor's Name
           701 E. 60TH ST. N.                                        When was the debt incurred?           2021
           Sioux Falls, SD 57104
           Number Street City StateZip Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                         D Contingent
           D Debtor 2 only                                               Unliquidated
           D Debtor1 andDebtor2 only                                 D Disputed
           D At leastoneofthe debtorsandanother                      Type of NONPRIORITYunsecured claim;
           D Check ifthis claim isfora community                     D Student loans
           debt                                                      D Obligationsarisingoutofa separation agreementordivorcethatyoudidnot
           Is the claim subject to offset?                           report as priority claims
               No                                                    D Debtsto pensionorprofit-sharingplans,andothersimilardebts
           D Yes                                                        Other. Specify CREDIT

 4.1
 0         Client Services, Inc.                                     Last4 digits of account number        XX                                     $2, 200. 00
           Nonpriority Creditor's Name
           3451 Harry S. Truman Blvd.                                When was the debt incurred?           2021
           Saint Charles, MO 63301
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                         D Contingent
           D Debtor 2 only                                              Unliquidated
           D Debtor1 andDebtor2 only                                 D Disputed
           D At leastoneofthe debtorsandanother                      Type of NONPRIORITYunsecured claim:

           D Check ifthis claim Isfora community                     d Student loans
           debt                                                      D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                           report as priority claims
               No                                                    D Debtsto pension orprofit-sharing plans, andothersimilardebts
           D Yes                                                        Other.Specify SYNCHRONY BANK




Official Form 106 E/F                                    ScheduleE/F: Creditors Who Have Unsecured Claims                                         Page 4 of 10
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  Debtor 1 YUSLEINYDIAZ DIAZ                                                                             Case number (ifknown)

 I 4.1
i_L         CREDIT CONTROL LLC                                       Last4 digitsofaccountnumber XX                                                    $14,000.00
            Nonpriority Creditor's Name
            P. O. BOX 31179                                          When was the debt incurred?           2021
           Tarn a, FL 33631
            NumberStreet City StateZip Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                         D Contingent
            D Debtor2 only                                               Unliquidated
           D Debtor 1 and Debtor 2 only                              D Disputed
           D Atleastoneofthedebtorsandanother                        Type of NONPRIORIP^ unsecured claim:

           D Checkifthisclaimisfora community                        D Studentloans
           debt                                                      D Obligations arising outofa separation agreement ordivorce thatyou did not
           Is the claim subject to offset?                           report as priority claims
               No                                                    D Debtsto pension orprofit-sharing plans, andothersimilardebts
           D Yes                                                         Other.Specify CITIBANK/MACYS

 4.1
 2         First Source Advantage                                    Last4 digits ofaccount number XX                                                   $2, 200. 00
           Nonpriority Creditor's Name
           205 Bryant Woods South                                    When was the debt incurred?           2021
           Amherst, NY 14228
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                         D Contingent
           D Debtor2 only                                                Unliquidated
           D Debtor1 andDebtor2 only                                 D Disputed
           D At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           D Checkifthisclaimisfora community                        D Studentloans
           debt                                                      D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                           report as priority claims
               No                                                    D Debtsto pension orprofit-sharing plans, andothersimilardebts
           D Yes                                                        Other.Specify SYNCRONYBANK

: 4.1
 3         GURSTEL LAW FIRM P.C.                                     Last4 digitsofaccountnumber 3272                                                 $10,000.00
           Nonpriority Creditor's Name
           9320 E. RAINTREEDRIVE.                                    When was the debt incurred?           2021
           Scottsdale, AZ 85260
           Number Street City State Zip Code                         As ofthedateyou file,theclaim is: Checkall thatapply
           Who incurred the debt? Check one.

               Debtor 1 only                                         D Contingent
           D Debtor2 only                                               Unliquidated
           D Debtor 1 and Debtor 2 only                              D Disputed
           D At leastone ofthedebtorsandanother                      Type of NONPRIORITV unsecured claim:

           D Checkifthisclaim isfora community                       D Studentloans
           debt
                                                                     D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                           report as priority claims
               No                                                    D Debtsto pensionorprofit-sharingplans,andothersimilardebts
           D Yes                                                        Other Specify ABSOLUTERESOLUTIONS




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 5 of 10
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  Debtor 1 YUSLEINYDIAZDIAZ                                                                           Case number (ifknown)

 4.1
 4         LA CURACAO                                              Last4 digitsofaccountnumber XXXX                                             $3,300.00
           Nonpriority Creditor's Name
           1605 W. OLYMPIC BLVD #520                               When was the debt incurred?          2021
           Los An eles CA 90015-3835
           Number Street City State Zip Code                       As of the date you file, the claim is: Checkall thatapply
           Who incurred the debt? Check one.

               Debtor 1 only                                       D Contingent
           D Debtor 2 only                                             Unliquidated
           D Debtor 1 and Debtor2 only                             D Disputed
           D At least one of the debtors and another               Type of NONPRIORITT unsecured claim:

           D Checkifthisclaimisfora community                      D Student loans
           debt                                                    D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                         report as priority claims
              No                                                   D Debtsto pensionorprofit-sharingplans,andothersimilardebts
           D Yes                                                       Other. Specify CREDIT/MORE THAN ONE ACCOUNT

 4.1
 5         MACYS/DSNB                                              Last4 digitsofaccountnumber XXXX                                             $1, 000. 00
           Nonpriority Creditor's Name
           9111 DUKE BLVD                                          When was the debt incurred?          2021
           Mason, OH 45040
           Number Street City State Zip Code                       As ofthe dateyou file, the claim is: Checkall that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                        D Contingent
           D Debtor 2 only                                             Unliquidated
           D Debtor1 andDebtor2 only                               D Disputed
           D At leastoneofthe debtorsandanother                    Type of NONPRIORIPfunsecured claim:
           D Checkifthisclaimisfora community                      D Student loans
          debt                                                     D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                         report as priority claims
              No                                                   a Debtsto pension orprofit-sharing plans, andothersimilardebts
           D Yes                                                      Other.Specify CREDIT

 4.1
           Mccarthy, Burgess & Wolff                               Last4 digits of account number      XX                                       $8, 500. 00
           Nonpriority Creditor's Name
          The MB&W Building                                        Whenwasthe debt incurred?           2021
          26000 Cannon Road
           Bedford, OH 44146
          Number Street City State Zip Code                        As ofthe dateyou file, the claim is: Checkall thatapply
          Who incurred the debt? Check one.

              Debtor 1 only                                        D Contingent
           D Debtor 2 only                                            Unliquidated
           D Debtor1 andDebtor2 only                               D Disputed
          D At leastoneofthe debtorsandanother                     Type of NONPRIORITY unsecured claim:

          D Checkifthisclaimisfora community                       D Student loans
          debt
                                                                   D Obligationsarisingoutofa separation agreementordivorcethatyoudidnot
          Is the claim subject to offset?                          report as priority claims
              No                                                   D Debtsto pensionorprofit-sharingplans,andothersimilardebts
          D Yes                                                       Other.Specify CITIBANK




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 6 of 10
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  Debtor 1 YUSLEINYDIAZ DIAZ                                                                             Case number (ifknown)

  4.1
  7         Midland Credit Management Inc.                           Last4 digits of account number        XXXX                                    $3, 600. 00
            Nonpriority Creditor's Name
           350 CAMINO DE LA REINASTE 100                             When was the debt incurred?           2021
           San Die o, CA92108
            Number Street City State Zip Code                        As of the dateyou file, the claim is: Check all thatapply
           Who incurred the debt? Check one.

               Debtor 1 only                                         D Contingent
            D Debtor2 only                                               Unliquidated
            D Debtor1 andDebtor2 only                                D Disputed
            D Atleastoneofthedebtorsandanother                       Type of NONPRIORITY unsecured claim:

           a Check ifthis claim is for a community                   D Student loans
           debt                                                      D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                           report as priority claims
               NO                                                    D Debtsto pensionorprofit-sharingplans,andothersimilardebts
           D Yes                                                         Other. Specify CAPITAL ONE/CITIBANK

 4.1
           OKLAHOMA FMS, INC.                                        Last4 digits of account number        XX                                     $2, 200. 00
           Nonpriority Creditor's Name
           P.O. BOX 707600                                           When was the debt incurred?           2021
           Tulsa, OK74170
           NumberStreetCity StateZip Code                            As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                         D Contingent
           D Debtor 2 only                                               Unliquidated
           D Debtor1 andDebtor2 only                                 D Disputed
           D At least one of the debtors and another                 Type of NONPRIORITT unsecured claim:

           D Checkifthisclaimisfora community                        D Student loans
           debt
                                                                     D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                           report as priority claims
               No                                                    D Debtsto pension or profit-sharing plans, andothersimilardebts
           D Yes                                                        Other Specify SYNCHRONY BANK

 4.1
           RADIUS GLOBAL SOLUTIONS LLC.                              Last4 digitsofaccountnumber XX                                               $7,000.00
           Nonpriority Creditor's Name
           P.O. BOX 390905                                           Whenwasthe debt incurred?             2021
           Minnea olis, MN 55439
           NumberStreet City StateZip Code                           As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                         D Contingent
           D Debtor 2 only                                              Unliquidated
           D Debtor1 andDebtor2 only                                 D Disputed
           D At least one ofthe debtors and another                  Type of NONPRIORITY unsecured claim:

           D Check ifthis claim isfora community                     D Student loans
           debt                                                      D Obligationsarisingoutofa separation agreementordivorcethatyoudidnot
           Is the claim subject to offset?                           report as priority claims
               No                                                    D Debtsto pension orprofit-sharing plans, andother similardebts
           D Yes                                                        Other Specify TOYOTA MOTOR CREDIT CORP




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 7 of 10
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  Debtor 1 YUSLEINYDIAZDIAZ                                                                              Case number (ifknown)

  4.2
  0         SYNCHRONY BANK                                           Last4 digits ofaccount number         XX                                          $2, 500. 00
            Nonpriority Creditor's Name
            P.O. BOX 965033                                          Whenwasthe debt incurred?             2021
            Orlando, FL 32896
            NumberStreet City StateZip Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

                Debtor 1 only                                        D Contingent
            D Debtor 2 only                                              Unliquidated
            D Debtor 1 and Debtor 2 only                             D Disputed
            D At leastoneofthedebtorsandanother                      Type of NONPRIORITT unsecured claim:

            D Checkifthisclaimisfora community                       D Studentloans
           debt                                                      D Obligations arisingoutofa separation agreement ordivorce thatyou did not
            Is the claim subject to offset?                          report as priority claims
               No                                                    D Debtstopensionorprofit-sharingplans,andothersimilardebts
            D Yes                                                        Other. Specify CREDIT

 4.2
 1         SYNCHRONY BANK NETWORKS                                   Last4 digits ofaccount number         XXXX                                        $2,200.00
           Nonpriority Creditor's Name
           P. O. BOX 965036                                          When was the debt incurred?           2021
           Orlando, FL 32896
           NumberStreet City StateZip Code                           As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                         D Contingent
           D Debtor 2 only                                               Unliquidated
           D Debtor1 andDebtor2 only                                 D Disputed
           D At leastoneofthe debtorsandanother                      Type of NONPRIORITYunsecured claim:

           D Checkifthisclaimisfora community                        D Student loans
           debt                                                      D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                           report as priority claims
               No                                                    D Debtsto pension orprofit-sharing plans, andothersimilardebts
           Dyes                                                         Other. Specify CREDIT

 4.2
 2         Synergetic Communication                                  Last4 digitsofaccountnumber XXXX                                                  $7, 000. 00
           Nonpriority Creditor's Name
           5450 Northwest Center Ste 1000                            When was the debt incurred?           2021
           Houston, TX 77092
           NumberStreet City StateZip Code                           As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                         D Contingent
           D Debtor 2 only                                              Unliquidated
           D Debtor1 andDebtor2 only                                 D Disputed
           D At leastoneofthedebtorsandanother                       Type of NONPRIORIP^ unsecured claim:

           D Check ifthis claim isfora community                     D Student loans
           debt                                                      D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                           report as priority claims
               No                                                    D Debtsto pension orprofit-sharing plans, andothersimilardebts
           D Yes                                                        Other Specify TOYOTA FINANCIALSERVICES




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 8 of 10
Software Copyright (c) 1996-2021 Best Case, LLC-www. bestcase. com                                                                                Best Case Bankruptcy
            Case 2:21-bk-04316-MCW                              Doc 7 Filed 06/02/21 Entered 06/03/21 13:20:56                                    Desc
                                                               Main Document    Page 20 of 38
  Debtor 1 YUSLEINYDIAZDIAZ                                                                           Case number (if known)

 4.2
 3           THD/CBNA                                              Last4 digits ofaccount number        XXXX                                         $8, 500.00
             Nonpriority Creditor's Name
             ONE COURT SQUARE                                      When was the debt incurred?          2021
             Lan Island Ci , NY 11120
             Number Street City State Zip Code                     As of the dateyou file, the claim is: Checkall that apply
            Who incurred the debt? Check one.

                Debtor 1 only                                      D Contingent
             D Debtor2 only                                            Unliquidated
             D Debtor 1 and Debtor 2 only                          D Disputed
             D At leastoneofthedebtorsandanother                   Type of NONPRIORITV unsecured claim:

             D Checkifthisclaimisfora community                    D Studentloans
            debt                                                   D Obligations arisingout ofa separation agreement ordivorce thatyoudid not
            Is the claim subject to offset?                        report as priority claims
                No                                                 D Debtsto pension orprofit-sharing plans, andothersimilardebts
             D Yes                                                    Other.Specify CREDIT

 4.2
 4          Toyota Motor Credit Corporation                        Last4 digits ofaccount number        XXXX                                         $7, 000. 00
            Nonpriority Creditor's Name
            P.O. Box 9490                                          When was the debt incurred?          2021
            Cedar Ra ids, IA 52409-9490
            Number Street City State Zip Code                      As ofthe dateyou file, the claim is: Checkall that apply
            Who incurred the debt? Check one.

                Debtor 1 only                                      D Contingent
            D Debtor 2 only                                           Unliquidated
            D Debtor1 andDebtor2 only                              d Disputed
            D At leastoneofthedebtorsandanother                    Type of NONPRIORITY unsecured claim:

            D Checkifthisclaimisfora community                     D Studentloans
            debt                                                   D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
            Is the claim subject to offset?                        report as priority claims
                No                                                 D Debtsto pension orprofit-sharing plans, andothersimilardebts
            D Yes                                                     Other.Specify CREDIT

 4.2
 5          United Collection Bureau                               Last4 digitsofaccountnumber XX                                                    $8,500.00
            Nonpriority Creditor's Name
            5620 Southwyck Blvd., Suite 206                       When was the debt incurred?           2021
            Toledo, OH 43614
            Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

                Debtor 1 only                                      D Contingent
            D Debtor2 only                                            Unliquidated
            D Debtor1 andDebtor2 only                              D Disputed
            D At least one ofthe debtors and another              Type of NONPRIORITT unsecured claim:

            D Checkifthisclaimisfora community                     D Studentloans
            debt                                                   D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
            Is the claim subject to offset?                       report as priority claims
               No                                                  D Debtsto pension orprofit-sharing plans, andothersimilardebts
            D Yes                                                     Other. Specify CITIBANK

 Part 3        List Others to Be Notified About a Debt That You Alread Listed
S.Usethis pageonlyVtyouhaveothersto benotifiedaboutyourbankruptcy,fora debtthatyoualreadylisted in Parts 1 or2. Forexample,
  is trying to collect from you fora debtyou oweto someone else, listthe original creditor in Parts 1 or 2,then list the collection agency here. SimUarlyJfyou
  havemorethanonecredtorforanyofthedebtsthatyoulisted in Parts1 or2, listtheadditionalcreditorshere.Ifyoudonothaveadditionalperson'sto be
     notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 Part 4        Add the Amounts for Each T           e of Unsecured Claim

Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 9 of 10
SoftwareCopyright(c) 1996-2021 Best Case, LLC-www.bestcase.com                                                                                  Besl Case Bankruptcy

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                                                            Main Document    Page 21 of 38
  Debtor 1 YUSLEINYDIAZDIAZ                                                                             Case number (if known)

 6. Total the amounts ofcertain types of unsecured claims. This information is for statistical reporting purposes only. 28 U. S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                            Total Claim
                        6a. Domestic support obligations                                                  6a.                             0. 00
 Total
 claims
 from Part 1            6b. Taxesand certain other debts you owethe government                            6b.                             0.00
                        6c. Claims for death or personal injury whileyou were intoxicated                 6c                              0. 00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.                             0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.                             0.00

                                                                                                                            Total Claim
                        6f.   Student loans                                                               6f.                             0. 00
 Total
 claims
 from Part 2            6g. Obligationsarising out of a separation agreementor divorcethat
                            you did not report as priority claims                                         69.                             0. 00
                        6h. Debtsto pension or profit-sharing plans, and othersimilardebts                6h.                             0.00
                        6i. Other. Add all other nonpriority unsecured claims. Write thatamount           6i.
                              here.                                                                                                 143,400.00

                        6j.   Total Nonpriority.Add lines 6fthrough 6i.                                                             143,400.00




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                Page10 of 10
SoftwareCopyright (c) 1996-2021 Best Case, LLC-www.bestaase.com                                                                                   Best Case Bankruptcy
           Case 2:21-bk-04316-MCW                            Doc 7 Filed 06/02/21 Entered 06/03/21 13:20:56                                       Desc
                                                            Main Document    Page 22 of 38
  Fill in this information to identify your case:

  Debtor 1                  YUSLEINYDIAZ DIAZ
                            First Name                        Middle Name              Last Name

  Debtor 2
  (Spouse if, filing)       First Name                        Middle Name              Last Name


  United States Bankruptcy Courtforthe:                 DISTRICTOFARIZONA

 Case number
 (if known)
                                                                                                                                   D Check if this is an
                                                                                                                                     amended filing


Official Form 106G
Schedule G: Execute                                     Contracts and Unexpired Leases                                                                  12/15
Be as complete and accurate as possible. Iftwo married people are filing together, both are equally responsible for supplying correct
information.Ifmorespaceisneeded,copytheadditionalpage,fill it out, numbertheentries,andattachit tothis page.Onthi top ofany
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        D Yes.Fillinalloftheinformationbelowevenifthecontactsofleasesarelistedon ScheduleA/B:Property(OfficialForm106A/B).
2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples ofexecutory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                      State whatthe contract or lease is for
                           Name, Number, Street. City. Stale and ZIP Code
  2.1
           Name


           Number        Street

           City                                      State                  ZIPCode
  2.2
           Name



           Number       Street

           Ci                                        State                  ZIPCode
  2.3
           Name


           Number       Street


           Ci                                       State                   ZIP Code
  2.4
           Name


           Number       Street


           Ci                                       State                   ZIPCode
  2.5
           Name


           Number       Street


           d                                        State                   ZIP Code




OfficialForm 106G                                  ScheduleG: ExecutoryContractsand UnexpiredLeases                                                  Page 1 of 1
Software Copyright (c) 1996-2021 Best Case, LLC-www. bestcase. com                                                                             Best Case Bankruptcy
                Case 2:21-bk-04316-MCW                           Doc 7 Filed 06/02/21 Entered 06/03/21 13:20:56                               Desc
                                                                Main Document    Page 23 of 38
 Fill in this information to identify your case:

 Debtor 1                   YUSLEINY DIAZ DIAZ
                            First Name                         Middle Name        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                         Middle Name        Last Name


 United States Bankruptcy Courtforthe:                 DISTRICTOFARIZONA

 Case number
 (if known)
                                                                                                                           D   Check if this is an
                                                                                                                               amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                       12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people arefilingtogether, bothareequally responsiblefor supplyingcorrect information. If more space is needed,copy the AdditionalPage,
fill it out, and numberthe entries inthe boxeson the left. AttachtheAdditionalPageto this page.Onthe top ofany Additional Pages,write
your name and case number(if known). Answerevery question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
      D Yes

      2.Withinthe last 8 years, haveyou lived in a community property state or territory? (Communitypropertystatesand territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
      D Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. InColumn 1, listall ofyourcodebtors.Donotincludeyourspouseasa codebtorifyourspouseisfilingwithyou. Listthepersonshown
      in line 2 again as a codebtoronly ifthat person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 1 06G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Celumn 2: The creditor to whom you owe the debt
                Name, Number, Street, City StateandZIPCode                                          Checkall schedulesthat apply:

                                                                                                    D Schedule D, line
                Name
                                                                                                    D Schedule E/F, line
                                                                                                    D ScheduleG, line
                Number            Street
                City                                   State                      ZIP Code



                                                                                                    D Schedule D, line
                Name
                                                                                                    D Schedule E/F, line
                                                                                                    D ScheduleG, line
                Number            Street
                City                                   State                      ZIP Code




Official Form106H                                                            Schedule H: Your Codebtors                                     Page 1 of 1
Software Copyright (c) 1996-2021 Best Case, LLC-www. bestcase. com                                                                      Best Case Bankruptcy
              Case 2:21-bk-04316-MCW                             Doc 7 Filed 06/02/21 Entered 06/03/21 13:20:56                        Desc
                                                                Main Document    Page 24 of 38
 Fill     this information to identify our case;

 Debtor 1                      YUSLEINYDIA2 DIAZ

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the:       DISTRICT OF ARIZONA

 Case number                                                                                        Check if this is:
 (If known)
                                                                                                    D An amendedfiling
                                                                                                    D A supplement showing postpetition chapter
                                                                                                        13 income as of the following date:
 Official Form 1061                                                                                     MM /DD/YYYY
 Schedule I: Your Income                                                                                                                      12/15
Be as completeand accurateas possible. Iftwo married peoplearefilingtogether(Debtor1 andDebtor2), both are equally responsiblefor
supplying correct information. Ifyou are marriedand notfilingjointly, andyourspouseis livingwithyou, include information aboutyour
spouse. Ifyou areseparatedandyourspouse is notfilingwithyou, do not include informationaboutyourspouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.
 Parti:                Describe Em lo ment

 1.     Fill in your employment
        information.                                               Dabtor 1

        If you have more than one job,                                  Employed                           D Employed
        attach a separate page with           Employment status
        information about additional                               D Notemployed                           D Notemployed
        employers.
                                             Occupation            PACKER
        Include part-time, seasonal, or
        self-employed work.                   Employer's name      TJMAXX
        Occupation may include student        Employer's address
        or homemaker, if it applies.


                                             How long employed there?         5 YEARS
 Part 2:               Give Details About Month! Income

Estimatemonthly incomeasofthedateyoufilethisform. Ifyouhavenothingto reportforanyline,write$0 inthespace. Includeyournon-filir
spouse unless you are separated.

Ifyou oryournon-filing spouse havemore thanone employer, combine the information forall employers forthat person on the lines below. Ifyou need
more space, attach a separate sheet to this form.

                                                                                                  For Debtor 1          For DeWor 2 or
                                                                                                                        ncm-ftting spouse
        List monthly gross wages, salary, and commissions (before all payroll
 2- deductions). Ifnotpaid monthly, calculate whatthe monthly wagewould be.             2.   $         2,494.00         $             N/A

 3.     Estimate and list monthly overtime pay.                                         3.   +$              0.00       +$            N/A
4.      Calculate gross Income. Add line 2 + line 3.                                    4.   $       2,494.00               $      N/A




Official Form 1061                                               Schedule I: Your Income
              Case 2:21-bk-04316-MCW                   Doc 7 Filed 06/02/21 Entered 06/03/21 13:20:56                                Desc page 1
                                                      Main Document     Page 25 of 38
 Debtor1    YUSLEINYDIAZ DIAZ                                                                    Case number (if known)



                                                                                                  For Defetor 1           For Debtor 2 or
                                                                                                                          nen-fNit I spouse
      Copy line 4 here                                                                     4.     $         2, 494. 00    -$---            N/A

 5.   List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.    $           623.00      $                N/A
      5b.    Mandatory contributions for retirement plans                                  5b.    $               0. 00   $                N/A
      5c.    Voluntary contributions for retirement plans                                  5c.  $                 0. 00   $                N/A
      5d.    Required repayments of retirement fund loans                                  5d.  $                 0. 00  $                 N/A
      5e.    Insurance                                                                     5e.  $                 0.00   $                 N/A
      5f.    Domestic support obligations                                                  5f.  $                 0.00   $                 N/A
      5g.    Union dues                                                                    5g. $                  0. 00  $                 N/A
      5h.    Other deductions. Specify:                                                    5h.+ $                 0.00 + $                 N/A
 6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.    $            623. 00     $                N/A
 7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.    $          1,871.00      $                N/A
 8.   List all other income regularly received:
      8a.    Net incomefrom rental property and from operating a business,
             profession, or farm
             Attach a statementforeach property and businessshowinggross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.    $               0.00                  N/A
      8b.    Interest and dividends                                                        Sb.    $               0.00                  N/A
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.    $               0. 00                 N/A
      8d.    Unemployment compensation                                                     8d.    $               0. 00                 N/A
      8e.    Social Security                                                               8e.    $               0.00                  N/A
      8f.    Othergovernmentassistancethatyou regularly receive
             Include cash assistanceand the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits underthe Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.    $               0.00 $                N/A
             Pension or retirement income                                                  89.    $               0.00 S                N/A
      8h.    Other monthly income. Specify:                                                8h.+ $                 0. 00 + $             N/A

 9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9. $                   0.00 $                   N/A

 10. Calculate monthly income. Add line 7 + line 9.                                     10. $         1, 871. 00 + $           N/A = $           1, 871. 00
      Add the entries in line 10 for Debtor 1 and Debtor2 or non-filing spouse.
 11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
      other friends or relatives.
      Do not includeanyamountsalreadyincludedin lines2-10or amountsthatare not availableto payexpenseslisted in ScheduleJ.
      Specify:                                                                                                                  11.   +$              0. 00

 12. Add the amount in the last column of line 10to the amount in line 11. The result is the combined monthly income.
      Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
      applies                                                                                                                   12. $            1, 871.00
                                                                                                                                      Combined
                                                                                                                                      monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
                No.
      D         Yes. Explain:




Official Form 1061                                                      Schedule I: Your Income
            Case 2:21-bk-04316-MCW                   Doc 7 Filed 06/02/21 Entered 06/03/21 13:20:56                                     Descpage 2
                                                    Main Document    Page 26 of 38
 Fill in this information to identify your case:

 Debtor 1                YUSLEINY DIAZ DIAZ                                                               Check if this is:
                                                                                                           D     An amended filing
 Debtor 2                                                                                                  D     A supplement showing postpetition chapter
 (Spouse, if filing)                                                                                             13 expenses as of the following date:

 United States BankruptcyCourtfor the: DISTRICTOF ARIZONA                                                        MM / DD / YYYY

 Case number
 (If known)



 Official Form 106J
 Schedule J: Your Ex enses                                                                                                                               12/15
 Be as completeandaccurateas possible. Iftwo married peoplearefilingtogether, both areequally responsiblefor supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.

 Parti      Describe Your Household
 1.  Is this a joint case?
              No. Go to line 2.
        D Yes. Does Debtor2 live in a separate household?
                  D No
                  D Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2.     Do you have dependents? Q NO
        Do not list Debtor 1 and           Yes.    Fill out this information for   Dependent's relationshipto       Dependent's        Does dependent
        Debtor 2.                                  each dependent..............    Debtor 1 or Debtor2              age                live with you?

        Do not state the                                                                                                               D No
        dependents names.                                                          Son                                                   Yes
                                                                                                                                         No
                                                                                   Son                              19                   Yes
                                                                                                                                       D No
                                                                                                                                       D Yes
                                                                                                                                       D No
                                                                                                                                       D Yes
 3.     Do your expenses include                   No
        expenses of people other than
        yourself and your dependents?          D Yes

 Part            Estimate Your Ongoing Monthly Expenses
 Estimateyourexpensesasofyourbankruptcyfilingdateunlessyouareusingthisform asa supplementin a Chapter13caseto report
expensesas ofa dateafterthe bankruptcy is filed. Ifthis is a supplemental ScheduleJ, checkthe boxatthe top ofthe form andfill in the
applicable date.

 Include expenses paid for with non-cash government assistanceif you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 1061.)                                                                                                    Your expenses

4.      The rental or home ownership expenses for your residence. Include first mortgage
        payments and any rentfor the ground or lot.                                 - ~                   4. $                           1, 300.00

        If not included in line 4:

        4a.      Real estatetaxes                                                                        4a. $                                 0.00
        4b.      Property, homeowner's, or renter's insurance                                            4b. $                                 0.00
        4c.      Home maintenance, repair, and upkeep expenses                                           4c. $                                 0.00
        4d.      Homeowner's association or condominium dues                                             4d. $                                 0. 00
5.      Additional mortgage payments for your residence, such as home equity loans                        5. $                                 0.00



Official Form 106J                                                    Schedule J: Your Expenses                                                         page 1
         Case 2:21-bk-04316-MCW                          Doc 7 Filed 06/02/21 Entered 06/03/21 13:20:56                                       Desc
                                                        Main Document    Page 27 of 38
 Debtor 1       YUSLEINYDIAZDIAZ                                                              Case number (if known)

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                          6a. $                        200.00
       6b. 'Water, sewer, garbagecollection                                                        6b. $                          80. 00
       6c. Telephone, cell phone, Internet, satellite, and cable services                          6c. S                        100.00
       6d. Other. Specify:                                                                         6d. $                           0. 00
 7.    Food and housekeeping supplies                                                               7. $                        600.00
 8.    Childcare and children's education costs                                                     8. $                           0.00
 9.    Clothing, laundry, and dry cleaning                                                          9. $                           0. 00
 10. Personal care products and services                                                           10. $                           0.00
 11. Medical and dental expenses                                                                   11. $                           0.00
 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                  12. $                        300. 00
 13. Entertainment, clubs, recreation, newspapers, magazines,and books                             13. $                           0. 00
 14. Charitablecontributions and religious donations                                               14. $                           0.00
 15.   Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.
       15a. Life insurance                                                                        15a. $                           0.00
       15b.     Health insurance                                                                  15b. $                           0. 00
       15c.     Vehicle insurance                                                                 15c. $                        160.00
     15d. Other insurance. Specify:                                                               15d. $                           0.00
 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
     Specify:                                                                                      16. $                           0. 00
 17. Installment or lease payments:
     17a. Car payments for Vehicle 1                                                              17a. $                        391.00
     17b. Car payments for Vehicle 2                                                              17b. $                          0.00
     17c. Other. Specify:                                                                         17c. $                          0.00
     17d. Other. Specify:                                                                         17d. $                           0. 00
 18. Your payments of alimony, maintenance, and support that you did not report as
     deducted from your pay on line 5, Schedule I, Your Income (Official Form 1061).               18. $                           0. 00
 19. Other payments you make to support others who do not live with you.                                $                          0. 00
       Specify:                                                                            19.
 20. Otherreal property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
                                                                                     fu/e /;
     20a. Mortgageson other property                                                     20a. $                                    0.00
     20b. Real estate taxes                                                              20b. $                                    0. 00
     20c. Property, homeowner's, or renter's insurance                                   20c. $                                    0.00
     20d. Maintenance, repair, and upkeep expenses                                       20d. $                                    0. 00
     20e. Homeowner's association or condominium dues                                    20e. $                                    0.00
 21. Other: Specify:                                                                       21 +$                                   0.00
 22.   Calculate your monthly expenses
       22a. Add lines 4 through 21.                                                                         $              3, 131. 00
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                 $
       22c. Add line 22a and 22b. The result is your monthly expenses.                                      $              3, 131. 00
 23.   Calculate your monthly net income.
       23a. Copy line 12 (yourcombinedmonthly income) from Schedule I.                           23a. $                      1, 871. 00
       23b. Copy your monthly expenses from line 22c above.                                      23b. -$                     3, 131. 00
       23c. Subtractyour monthly expensesfrom your monthly income.
                The result is your monthly net income.                                           23c. $                      -1, 260. 00
24.    Do you expect an increase or decrease in your expenses within the year after you file this form?
       Forexample, doyou expectto finishpayingforyourcarloanwithintheyearordoyou expectyourmortgagepaymentto increaseordecreasebecauseof a
       modification to the terms of your mortgage?
          No.
       D Yes.              Explain here:




Official Form 106J                                            Schedule J: Your Expenses                                                      page 2
         Case 2:21-bk-04316-MCW                       Doc 7 Filed 06/02/21 Entered 06/03/21 13:20:56                              Desc
                                                     Main Document    Page 28 of 38
  Fill in this information to identify your case:

  Debtor 1                 YUSLEINYDIAZ DIAZ
                           First Name                        MiddleName              Last Name

  Debtor 2
 (Spouse If, filing)       First Name                        Middle Name             Last Name

 United States Bankruptcy Court for the:               DISTRICT OF ARIZONA

 Case number
 (if known)
                                                                                                                                    D Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                           12/15

Iftwo married people arefiling together, both are equally responsible for supplying correct information.

Youmustfilethisformwheneveryoufile bankruptcyschedulesoramendedschedules.Makinga falsestatement, concealingproperty, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250, 000,
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                   Sign Below


        Didyou payor agreeto paysomeonewhois NOTan attorney to helpyou fill out bankruptcyforms?

        D      No
               Yes. Name of person           SHERIA. BARRIOS                                                     Attach Bankruptcy Petition Preparer'sNotice,
                                                                                                                 Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are tr        and c       ct.


              YU                      DIAZ                                               Signature of Debtor 2
              Sig ture of Debtor 1

              Date June 1, 2021                                                          Date




Official Form 106Dec                                        DeclarationAboutan Individual Debtor's Schedules
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                                                                                                                                                 Best Case Bankruptcy




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  Fill in this information to identify your case:

 Debtor 1                  YUSLEINYDIAZ DIAZ
                           First Name                         Middle Name                Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name                Last Name


 United States Bankruptcy Courtforthe:                  DISTRICTOFARIZONA

 Case number
 (if known)                                                                                                                      D Check if this is an
                                                                                                                                   amended filing



Official Form 108
Statement of Intention for Individuals Filin                                                         Under Cha ter7                                   12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
    you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
       whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
              on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
              sign and date the form.

Beascompleteandaccurateas possible.Ifmorespaceis needed,attacha separatesheettothisform.Onthetop ofanyadditionalpages,
              write your name and case number (if known).

 Part 1:       List Your Creditors Who Have Secured Claims

1 For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    leteatKythecrs«HN»rafl«f«ropfeqaertythertiseeliatarat                   Whatetoyou intend to dowiththe property that       Didyou eteim the property
                                                                            securesa etetrt?                                   asexempton ScheduleC?


    Creditor's         MECHANICS BANK                                       D Surrenderthe property.                            D No
    name:                                                                   D Retain the property and redeem it.
                                                                            D Retainthe property andenter into a                  Yes
    Description of 2014 CHEVYSILVERADO                                         Reaffirmation Agreement.
    property
                                                                               Retain the property and [explain]:
    securing debt:                                                           CONTINUE TO MAKE REGULAR
                                                                            PAYMENTS


    Creditor's         US Bank Home Mortgage                                D Surrenderthe property.                           D No
    name:                                                                   D Retainthe property and redeem it.
                                                                               Retain the property and enter into a               Yes
    Description of 3814 WEST ROSE LANE
                                                                               Reaffirmation Agreement.
    property             Phoenix,AZ 85019 Maricopa                          D Retain the property and [explain]:
    securingdebt: co""ty
 Part 2:       List Your Unex ired Personal Pro e                 Leases
 orany unexpiredpersonalproperty leasethatyoulisted in ScheduleG: ExecutoryContractsandUnexpiredLeases(OfficialForm106G),fill
intheinformationbelow.Donot listrealestateleases.Unexpiredteasesareleasesthatarestill in effect;the leaseperiodhasnotyetended.
You may assumean unexpired personal property leaseifthe trustee does notassume it. 11 U.S.C. § 365(p)(2).
 Describe your unexpired personal property leases                                                                          WM the tease be iissumect?


OfficialForm 108                                         Statementof Intentionfor IndividualsFiling UnderChapter 7                                       page 1
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  Debtor 1      YUSLEINVDIAZ DIAZ                                                                     Case number {ifknown)



 Lessor's name:
                                                                                                                              D No
 Description of leased
 Property:                                                                                                                    D Yes

 Lessor's name:                                                                                                               D No
 Description of leased
 Property:                                                                                                                    D Yes

 Lessor's name:                                                                                                               D No
 Description of leased
 Property:                                                                                                                    D Yes

 Lessor's name:                                                                                                               D No
 Description of leased
 Property:                                                                                                                    D Yes

 Lessor's name:                                                                                                               D No
 Description of leased
 Property:                                                                                                                    D Yes

 Lessor's name:                                                                                                               D No
 Description of leased
 Property:
                                                                                                                              D Yes

 Lessor's name:
                                                                                                                              D No
 Description of leased
 Property:
                                                                                                                              D Yes

 Part 3:      Si n Below


Under penalty ofperjury, I declare that I haveindicated my intention about any property ofmy estate that secures a debtand any personal
property that is subject to an unexpired lease.


       YUSLEINYDIAZ DIAZ                                                                Signature of Debtor 2
       Signature of Debtor 1

       Date         June 1, 2021                                                    Date




OfficialForm 108                                          Statementof Intentionfor IndividualsFiling UnderChapter 7                               page 2
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  Fill in this information to identify your case:

 Debtor 1                   YUSLEINY DIAZ DIAZ
                            First Name                         MiddleName                   Last Name

 Debtor 2
 (Spouse if, filing)        First Name                         Middle Name                  Last Name


 United States Bankruptcy Courtfor the:                  DISTRICTOFARIZONA

 Case number
 (if known)
                                                                                                                                               D Check if this is an
                                                                                                                                                 amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                      4/19
Be as complete and accurate as possible. Iftwo married people are filing together, both are equally responsible for supplying correct
information. Ifmore space is needed,attacha separatesheetto thisform. Onthetop ofanyadditionalpages,writeyour nameand case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and WhereYou Lived Before

1.    What is your current marital status?

       D      Married
              Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

              No
       D Yes.Listalloftheplacesyou livedinthelast3 years.Donotincludewhereyou live now.
        Debtor 1 Prior Address:                                    Dates Debtor 1              Debtor 2 Prior Address:                                Dates Debtor 2
                                                                   lived there                                                                        lived there

3. Withinthe last 8 years, didyou everlive with a spouse or legal equivalent in a community property state orterritory? {Community property
statesandterritoriesincludeArizona,California,Idaho,Louisiana,Nevada,NewMexico,PuertoRico,Texas,WashingtonandWisconsin.)
              No
      D Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income


4. Didyou haveany income from employment orfrom operating a business during thisyearorthetwo previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      Ifyou are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

      D       No
              Yes. Fill in the details.

                                                     Debtor 1                                                         Debtor 2
                                                     Sources of income                 Gross income                   Sources of income               Gross income
                                                     Cheek ail thatapply.              (before deductions and         Ctieek all that apply.          (before deductions
                                                                                       exclusions)                                                    and exclusions)
 From January 1 of current year until                  Wages, commissions,                         $14, 408. 00       D Wages,commissions,
 the date you filed for bankruptcy:                                                                                   bonuses, tips
                                                     bonuses, tips
                                                     D Operating a business                                           D Operatinga business




Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 1
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  Debtor1       YUSLEINYDIAZDIAZ                                                                        Case number (if known)



                                                    Debtor 1                                                  Debtor 2
                                                    Sources of income               Gross income              Sources of income              Gross income
                                                    Check all that apply.           (before deductions and    Check all that apply.          (before deductions
                                                                                    exclusions)                                              and exclusions)
 For last calendaryear:                                 Wages, commissions,                   $42,567.00       D Wages,commissions,
 (January 1 to December 31 ,2020)                   bonuses"t'ips                                             bonuses, tips

                                                    D Operatinga business                                      D Operatinga business

 For_the_cale"daryearbefore.that\                      Wages,commissions,                     $35,368. 00      D Wages,commissions,
 (January 1 to December 31,2019)                    bonuse's. 't'ips "" "                                     bonuses, tips

                                                    D Operating a business                                    D Operatinga business


5.     Didyou receiveany other income during this yearor the two previous calendaryears?
      Includeincome regardlessofwhetherthat income istaxable. Examplesofotherincomearealimony; childsupport; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest: dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. Ifyou are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

       D     No
             Yes. Fill in the details.

                                                   Debtor 1                                                   Debtor 2
                                                   Sources of income                Gross income from         Sources of income             Gross income
                                                   Describe below.                  each source               Describe below.               (before deductions
                                                                                    (before deductions and                                  and exclusions)
                                                                                    exclusions)
 For last calendaryear:                            TAX REFUND                                  $2,727.00
 (January 1 to December 31, 2020)

 For the calendar year before that:                TAX REFUND                                  $4, 210. 00
 (January 1 to December 31, 2019)


 Part 3:      List Certain Pa ments You Made Before You Filed for Bankru tc

6.    Are either Debtor 1 's or Debtor 2's debts primarily consumer debts?
      D No. NeitherDebtorl nor Debtor 2 hasprimarily consumer debts. Consunperdebte aredefined in 11 U. S. C. § 101(8)as"incurred byan
                    individualprimarilyfor a personal, family, or household purpose."

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6, 825* or more?
                     D No.         Go to line 7.
                     D Yes Listbeloweachcreditortowhomyoupaida totalof$6,825*ormoreinoneormorepaymentsandthetotalamountyou
                                   paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                   not include payments to an attorneyfor this bankruptcy case.
                     * Subjectto adjustmenton 4/01/22andevery 3 yearsafterthatforcasesfiled on or afterthe dateofadjustment.
            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.

                     D Yes Listbeloweach creditor towhom you paida total of$600ormore andthetotal amount you paidthat creditor. Donot
                                   include payments fordomestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment          Total amount       Amount you         Was this payment for.
                                                                                                    paid          still owe




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  Debtor 1        YUSLEINYDIAZDIAZ                                                                       Case number (ifknown)



       Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
       Insidersincludeyour relatives; anygeneral partners; relativesofanygeneralpartners; partnershipsofwhichyou are a generalpartner; corporations
       ofwhichyou arean officer,director, person in control, orownerof20%or more oftheirvoting securities; andanymanagingagent, includingonefor
       a businessyou operate asa sole proprietor. 11 U.S.C. § 101. Includepaymentsfordomesticsupportobligations,such as childsupport and"
       alimony.

             No
       D Yes. Listall paymentsto an insider.
        Insider's Name and Address                                   Dates of payment     Total amount         Amount you        Reason for this payment
                                                                                                   paid          still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
       insider?
       Include payments on debts guaranteed or cosigned by an insider.

             No
       D     Yes. List all payments to an insider
        Insider's Name and Address                                   Dates of payment     Total amount         Amount you        Reason for this payment
                                                                                                   paid          still owe       Include creditor's name

 Part 4:       Identi Le al Actions, Re ossessions, and Foreclosures

9. Within1 yearbeforeyoufiledfor bankruptcy,wereyou a party in any lawsuit,courtaction, or administrativeproceeding?
   List ajl such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support oFcustody
      modifications, and contract disputes.

       D     No
             Yes. Fill in the details.
       Case title                                                Nature of the case       Court or agency                        Status of the case
       Case number
       ABSOLUTE RESOLUTIONS                                      CIVIL                    MANISTEEJUSTICE                        D Pending
       INVESTMENTS, INC.                                                                  COURT                                  D On appeal
                                                                                          14264 W. TIERRA BUENA                  D Concluded
       YUSLEINY DIAZ DIAZ                                                                 LANE
       CC2020123272                                                                       Surprise, AZ 85374


10. Within 1 year before you filed for bankruptcy, was any ofyour property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

             No. Goto line 11.
      D      Yes. Fill in the information below.
       Creditor Name and Address                                 Describethe Property                                   Date                          Value of the
                                                                                                                                                         property
                                                                 Explain what happened

11 Within90 days beforeyou filed for bankruptcy, didanycreditor, including a bankorfinancial institution, set offany amounts from your
      accounts or refuseto make a payment becauseyou oweda debt?
             No
      D      Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                  Date action was                   Amount
                                                                                                                        taken

12. Within1 yearbeforeyoufiledforbankruptcy,wasanyofyourpropertyinthepossessionofanassigneeforthe benefitofcreditors, a
      court-appointed receiver, a custodian, or another official?
             No
      a      Yes




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  Debtor 1        YUSLEINYDIAZDIAZ                                                                           Case number (if known)



  Part 5:      List Certain Gifts and Contributions

 13.       thin 2 years beforeyou filedfor bankruptcy, didyou giveanygifts witha total value of morethan $600per person?
             No
       D     Yes. Fill in the details for each gift.
        Gifts with a total value of more than $600                    Describe the gifts                                      Dates you gave                   Value
        per person                                                                                                            the gifts
        Person to Whom You Gave the Gift and
       Address:

14. Within2 yearsbeforeyoufiledforbankruptcy,didyougiveanygiftsorcontributionswitha total valueofmorethan$600to anycharity?
             No
       D Yes. Fill in the details for each gift or contribution.
       Gifts or contributionsto charitiesthat total            Describewhatyou contributed                                    Datesyou                         Value
        more than $600                                                                                                        contributed
       Charity's Name
       Address (Number,Street,City, StateandZIPCode)

 Part 6:      List Certain Losses


15. Within1 yearbeforeyoufiledforbankruptcyorsinceyoufiledforbankruptcy,didyou loseanythingbecauseoftheft, fire,otherdisaster,
       orgambling?                                                                                                             »-------.-,... -, -..-. -.-.-.,

             No
       D     Yes. Fill in the details.
       Describe the property you lost and                  Describeany insurance coveragefor the toss                         Date of your      Value of property
       how the loss occurred                                                                                                  loss                           lost
                                                           Include the amount that insurance has paid. List pending
                                                           insurance claims on line 33 of Schedule A/B: Property.
 Part 7:      List Certain Pa merits or Transfers

16. Within1 yearbeforeyouflledforbankruptcy,didyouoranyoneelseactingonyourbehalfpayortransferanypropertytoanyoneyou
       consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Includeanyattorneys, bankruptcypetitionpreparers,orcreditcounselingagenciesforservicesrequiredinyourbankruptcy
       D     No
             Yes. Fill in the details.
       Person Who Was Paid                                           Description andvalue of any property                     Date payment              Amount of
       Address                                                       transferred                                              or transfer was             payment
       Email orwebsite address                                                                                                made
       Person Who Madethe Payment,if NotYou
       SHERI A. BARRIOS                                              CASH                                                     5-27-2021                   $200.00
       723 W. POLKST.
       Phoenix, AZ 85007
       sheridocprep@gmail. com


17. Within1 yearbeforeyouflledIforbankruptcy,didyouoranyoneelseactingonyourbehalfpayortransferanypropertytoanyonewho
       promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any paymentor transferthatyou listed on line 16.

             No
       D     Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment             Amount of
       Address                                                       transferred                                              or transfer was           payment
                                                                                                                              made




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 Debtor 1        YUSLEINYDIAZDIAZ                                                                          Case number (if known}



18. Within2 years beforeyoufiledfor bankruptcy, didyou sell, trade, or otherwisetransferany property to anyone, otherthan property
      transferred in the ordinary course ofyour business or financialaffairs?
      Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
       include gifts and transfers that you have already .listed on this statement.
            No
       D       Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                  Describe any property or     Date transfer was
       Address                                                       property transferred                      payments received or debts   made
                                                                                                               paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
      beneficiary? (These are often called asset-protection devices.)
          No
      D      Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                      Date Transfer was
                                                                                                                                            made

 Part 8:        List of Certain Financial Accounts, Instruments, Safe De osit Boxes, and Stora e Units

20. Within1 year beforeyoufiledfor bankruptcy,wereanyfinancialaccountsor instruments held in your name, or for your benefit, closed,
      sold, moved, or transferred?
      Includechecking,savings,moneymarket, or otherfinancialaccounts;certificatesofdeposit;sharesin banks,credit unions, brokerage
      houses, pension funds, cooperatives, associations, and other financial institutions.
          No
      D     Yes. Fill in the details.
       Name of FinancialInstitution and                          Last4 digits of              Type of account or      Date account was             Last balance
       Address (Number,Street,City, StateandZIP                  account number               instrument              closed, sold,          before closing or
       Code)                                                                                                          moved, or                         transfer
                                                                                                                      transferred

21 Doyou now have, or did you havewithin 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
      cash, or other valuables?


            No
      D     Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?            Describe the contents              Do you still
       Address (Number,Street, City, StateandZIPCode)                Address (Number,Street,City,                                             have it?
                                                                     State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
            No
      D     Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access            Describe the contents              Do you still
       Address (Number,Street, City, StateandZIPCode)                to it?                                                                   have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:        Identi    Pro e      You Hold or Control for Someone Else

23. Doyouholdor control anypropertythatsomeoneelseowns?Includeanypropertyyou borrowedfrom,arestoringfor, or hold intrust
      for someone.


            No
      D     Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                Describethe property                            Value
       Address (Number,Street,City,StateandZIPCode)                  (Number, Street, City, State andZIP
                                                                     Cpde)

 Part 10:       Give Details About Environmental Information

Forthe purpose of Part 10, the following definitionsapply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
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 Debtor1      YUSLEINYDIAZDIAZ                                                                           Case number (ifknown)



      toxic substances,wastes,or material intotheair, land, soil, surfacewater, groundwater,or othermedium, includingstatutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      S/(e means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Reportall notices, releases, and proceedingsthatyou know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
      D    Yes. Fill in the details.
       Name of site                                            Governmental unit                            Environmental law, if you         Date of notice
      Address (Number,Street,City, StateandZIPCode)            Address {Number,Street,City,Stateand         know it
                                                               W Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
      D    Yes. Fill in the details.
      Name of site                                             Governmental unit                            Environmental law, if you         Date of notice
      Address (Number,Street,City, StateandZIPCode)            Address (Number, Street, City, Stateand      know it
                                                               ZIPCode)

26. Haveyou been a party in anyjudicial or administrative proceeding underany environmental law? Include settlements and orders.

           No
      D    Yes. Fill in the details.
      Case Title                                               Court or agency                           Nature of the case                   Status of the
      Case Number                                              Name                                                                           case
                                                               Address (Number,Street,City,
                                                               State andZIPCode)

 Part 11: Give Details About Your Business or Connections to An Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any ofthe following connections to any business?
           D A soleproprietororself-employedina trade,profession,orotheractivity,eitherfull-timeorpart-time
           D A member ofa limited liability company (LLC)or limited liability partnership (LLP)
           D A partner in a partnership
           D An officer,director, ormanagingexecutiveofa corporation
           D An owner ofat least 5%ofthevoting orequity securities ofa corporation
           No. None of the above applies. Go to Part 12.
     D Yes. Check all that apply above and fill in the details below for each business.
      Business Name                                       Describe the nature of the business                Employer Identification number
      Address                                                                                                Do not include Social Security numberor ITIN.
      (Number, Street, City, StateandZIPCode)             Nameof accountantor bookkeeper
                                                                                                             Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

           No
     D     Yes. Fill in the details below.
      Name                                                Date Issued
      Address
      (Number, Street, City, State and ZIPCode)

 Part 12: Sin Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
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  Debtor 1     YUSLEINY DIAZ DIAZ                                                                    Case number (ifknown)



aretrue and correct. I understandthatmakinga falsestatement, concealingproperty, or obtainingmoney or property by fraud in connection
with a bankruptcy case can result in fines up to $250, 000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 41, 1519, and 3571.


 YUSLEIN                   IAZ                                       Signature of Debtor 2
 Signatu      of Debtor 1

 Date June 1, 2021                                                   Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
    No
D Yes

Didyou pay or agreeto pay someone who is not an attorney to help you fill out bankruptcy forms?
D No
    Yes. Name of Person          SHERI A. BARRIOS . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form
119).




OfficialForm 107                                    Statementof FinancialAffairsfor IndividualsFilingfor Bankruptcy                              page 7
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